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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACILUSETTS

HARDEN MANUFACTURING
CORPORATION, individually and on behalf of
itself and all others similarly situated,

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V. Civil Action No.
PFIZER, INC. and PARKE-DAVIS, a division .
of Warncer-Lambert Company, 0) A. {x i Fee Sy
Defendants, ™ ) wt "
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MAGISTRATE JuDae_[09°X-\

CLASS ACTION COMPLAINT

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Plaintiff llarden Manufacturing Corporation, on behalf of itself and all others similarly
situated, files this Class Action Complaint on behalf of all end-payors as more fully described
hercin. Plaintiff, upon personal knowledge as to facts pertaining to themselves, and upon

information and belief as to all other maiters, alleges as follows:

L NATURE OF THE ACTION

1. As detailed in thts Complaint, Defendant Pfizer, Inc. (“Pfizer”) currently markets
and sells the drug Neurontin. Prior to its acquisition of Wamer-Lambert in 2000, Neurontin was
marketed and sold by Parke-Davis, a division of Warner-Lambert (“Parke-Davis’’).

2. Drug companies must apply to the U.S, Food and Drug Administration (“FDA”)
for approval to sell a new drug. fn that approval process, the manulacturer often seeks FDA
approval for many different purposes. Olten, the FDA approves the drug for a narrower usc than
sought. Doctors are free lo presenbe a drug for a non-approved or “off-label” use. The market
lor off-label use often vastly excecds the approved FDA use.

3. Drug companics spend billions of dollars each year trying to persuade doctors to
prescribe thetr drugs. There are strict federal regulations about what form that promotion can
lake and, in particular, promoting “off-label” usc. These regulations are meant to ensure that
drug companies provide doctors trustworthy information, so that medications are prescribed
appropriately.

4. The Food and Drug Administration Act of 1997 (“FDAMA”), 21 U.S.C. § 360aaa
et seq., specifically authorizes a manufacturer to disseminate “written information concerning the
satety, effectiveness, or benefit of a use not descnbed in the approved labeling of a drug or
device,” 21 U.S.C. § 360aaa(a), if it complies with several requirements: The manufacturer must
submit an application to the DA seeking approval of the drug for the “off-label” use; the
manufacturer must provide the materials to the FDA prior to dissemination; the materials

themselves must be in unabridged form; and the manufacturer must include disclosures that the

materials pertain to an unapproved use of the drug, and. if the FDA deems it appropriate,

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"additional objective and scientifically sound information ... necessary to provide objectivity and
balance." 21 U.S.C. § 360aaa(b)(1)-(6); fd. at 360aaa(c); fd. at 360aaa-1 (emphasis added).
Importantly, i}: DAMA amends the Food, Drug, and Cosmetic Act to prohibil "the dissemination
of information /# violation" of these provisions. 21 U.S.C. § 331(+); see also id. at § 36Qaaa-
4(b)(1) (emphasis added).

5. Thus, although FDAMA permits pharmaceutical manufacturers to disseminate to
health care practitioners qualified forms of “written information concerning the safety,
effectiveness, or benefit of a use not described in the approved labeling ofa drug,” 21 U.S.C.

§ 36Q0aaa(a), manufacturers arc permitted to provide only “authorized information” in the fon of
unabridged peer-reviewed articles or qualified reference publications. fd. at § 360aaa-1. But the
IDAMA also requires Defendants to furnish federal regulators with advance copies of the
information they planned to disseminate:

Sixty days prior to disseminating the information, the manufacturer must

furnish the Secretary of Health and Human Services (Scerctary) a copy of the

information it plans to distribute, as well as clinical trial information the

manufacturer has regarding the off-label use's safety and effectiveness. ‘The

manufacturer also must forward to the Secretary any reports it has concerning

the safety and effectiveness of the off-label use.

6. In 1993, the Parke-Davis Division of Warncr-Lambert Company received FDA
approval to market and sell Neurontin for the treatment of epilepsy. There are two million
epileptics in the United States, a number that is not considered to be a large market to a major
pharmaceutical company. Starting in 1995, Parke-Davis executives embarked on a scheme the
purpose of which was to incrcase Neurontin sales for diseases with respect to which Neurontin
had wot received FDA approval because it had failed to demonstrate the safety or efficacy of
Neurontin to treat these diseases. Parke-Davis’s sales department recognized a significant profit
potential in the “off-label” promotion of Neurontin for other diseases and at higher dosages than
those approved by the FDA. Exccutives at Parke-Davis decided to completely avoid the nomnal

regulatory process of the FDA pertaining to the marketing of a new use of a drug and to proceed

in an illegal fashion in order to capture the lucrative “off-label” market. The decision was also
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made to actively conceal the illegal means which would be used to market the drug. Originally,
the principal component of the scheme was the hiring and deployment in the held of
approximately 60 “medical liaisons,” whose real function was to actively solicit physicians to
promote “off-label” uscs of Neurontin, using cash payments as a reward and incentive. This
“off-label” solicitation was to be donc in a covert fashion, largely in private mectings with
doctors.

7. In the pharmaccutical industry, medical liaisons are typically individuals with
scientific training who are available at a physician’s request to provide balanced scientific
information about a company’s products. They have no legitimate role as salespeople.

8. At Parke-Davis, many of the “medical liaisons” were hired directly oui of the
sales department. They were all trained in sales techniques and compensated, in part, on the
basis of sales. They had no discemable sctentilic or medical functions. They had no
communication or interaction with Parke-Davis’s actual medical research divisions. ‘lhe medical
haisons were assigned to act as teams with the regular sales representatives. They were civen
lists of doctors for “cold calls,” based on the size of the doctors’ practices and their ability to
prescnbe Neurontin. They were provided with a package of monetary incentives to offer to
physicians who got involved in the Parke-Davis program.

9, Parke-Davis also created a complex array of monetary incentives for physicians
whe wrote prescriptions for Neurontin. None of these imcentives have anything to do with true
scientific or medical research or with the safety of patients. These incentives include cash
payments to “consultants” and “preeeptors,” cash payments for a “speakers bureau” and for
participation in teleconferences, the award of money for setentitically madequate and trelevant
“studies,” miscellaneous cash payments for access to records of patients who are taking
Neurontin, travel and Olympics tickets, and other benefits. The recipients of these awards and
benefits were selected by the sales department based on their ability to prescribe Neurontin and

to influcnee other doctors to do so.
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10. The medical liaisons were tramed to use knowingly false information to persuade
physicians to use Neurontin for “off-label” uses. Parke-Davis’s official sales linc in this regard
was that because Neurontin is safe at very high doses and produced no significant side effects,
there is no problem using it for “off-label” indications. Medical liaisons were traincd to tell
doctors that evidence exists that Neurontin, in high doses, is effective for control of bipolar
mental disorder, monotherapy for seizures, for control of a vanety of puin states, for attention
deficit disorder, for migraine, for drag and alcohol withdrawal seizures, for restless log
syndrome, and for several other discascs. At the time these statements were made, there was no
competent scientific evidence that Neurontin was sate and effective for any of these conditions
or at dosages beyond the dosage approved by the FDA. The only “evidence” that existed was
gossip, case reports from physicians paid by Parke-Davis, self-referential studies and rumor. ‘he
medical liaisons were also tramed to misrepresent their own credentials to the physicians in order
to clevate their own credibility, by saying they were “involved in research,” In fact, they were
purely involved in sales.

1]. Parke-Davis medical liaisons, using a combination of misrepresentations and cash
incentives, encouraged many physicians to experiment with their own paticnts by prescribing
very high levels of Neurontin for a varicty of “off-label” indications. Parke-Davis did this with
the combined motives of increasing sales, generating a body of “medical practice” and case
reports which could later be used for further “off-label” promotion with other physicians. Parke-
Davis’s sales employees expressed callous disregard for the possibility of adverse reactions
occurring dunng these informal, non-FDA sanctioned, legal experiments. ‘The Parke-Davis
scheme focused in particular on the market for bipolar disorders. It did so by a variety of
methods, including sponsoring inexpensive studics, later published in scientific journals, which
purported to show favorable results in using Neurontin tor non-approved uses. These studies

were published by doctors who had reecived money trom Parke-Davis, either in the form of

educational grants or some other form of monetary pass-through as described below.

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12. Anexample of how the scheme works is contained in a proposal to Parke-Davis
from a Philadelphia company called Medical Education Systems (“MES”). In the proposal,
which was submitted in December 1996, MES requested $160,000 to develop a series of 12
scienuilic articles to “support epilepsy education.” In fact, three of the articles MES proposed
related to Neurontin and bipolar disorder. Parke-Davis made sure the articles said what it wanted
them to. It approved the authors and topics; it cleared the journals in which the articles were
printed; and its executives vetted drafts. In some cases, it approved articles that appear to have
been written almost entircly by ghostwriters of the medical education company.

13. The articles on Neurontin and bipolar disorder reported that some doctors were
having success with using Neurontin for their bipolar patients and that Neurontin was a “safe”
drug that was casily tolerated, so doctors could quickly increase the doses they gave their
patients. As part of the “oftlabel” marketing scheme, this message was then reinforced by
Parke-Davis salesmen when they called on doctors to tell them about the latest research on
Neurontin and at teleconterences, lavish dinner meetings and medical seminars where Parke-
Davis paid leading doctors to speak to other doctors who were also paid a fee to listen.

14. Based on these articles, as well as other illegal promotional activity described
herein, tens of thousands of bipolar disorder patients are now being treated with Neurontin.
However, a scientifically valid study conducted at the Harvard Bipolar Research Program found
thal patients did worse on Neurontin than those who were on a sugar pill. Patke-Davis
sponsored this 1998 study, was aware of the results, but did not publish the results until two
years later. By that time, Neurontin accounted for $1.3 billion in sales, with over 80% of its use
coming from non-approved uses, such as treatment of bipolar disorder,

15. This “off-label” promotion scheme remained hidden until a complaint by a former
medical liaison, Dr. David Franklin, was fully unsealed by the United States District Court for
the District of Massachusetts in May 2002,

16. On information and belictf, defendants’ “off-label” promotion scheme continued

after the hling of Dr. Franklin’s whistleblower complaint and still continues. For example,

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through the third quarter of 2002, there were no published scientific studics to support
Neurontin’s use for a wide varicty of diseases that it is being prescribed for including anxiety
disorder, attention deficit disorder, bipolar disorder, cluster headache, depression, dosages in
excess of 1800 mg per day and many other disorders that physicians are now prescribing
Neurontin for that are “off-label.” Despite this lack of scientific evidence, Neurontin sales for
these and other “off-Iabel” uses have steadily increased, to the point that, according to an article
published in the December 1, 2003 issue of MEDICAT. MARKETING & MEDIA, 90% of Neurontin
salcs are lor “off-label” use. No other drug in the Untied States has such a high percentage of
“off-label” use. The same article estimates that $1.8 billion worth of Neurontin has been sold for
“off-label” uses, which means as much as $500 million has been sold for “off-label” purposes in
California. This increase in sales, and the repeated and increased prescription of Neurontin for
“off-label” uses, without any supporting scientific studies that would be prompting such use,
cannot be a random event and could not occur without continuing “off-label” promotion by
Defendants’ sales force. And twice in the last two years, Pfizer has been found by the
Department of Health & Ltuman Services to have engaged in illegal promotional acts with
respect to the sale of Neurontin.

17. In this class action, Plaintiff secks cquilable, injunctive and declaratory relief,
including damages for loss of money or property, restitution and/or diseorgement of all illegal
profils obtained by Defendants as a result of their unlawful, unfair, or deceptive practices.

I. PARTIES

18. Plamtiff Harden Manufacturing Corporation (“Harden”) olfers an employee
benefit plan established and maintained pursuant to the Employee Retirement Income Security
Act, 29 U.S.C. 3 1001 ct scq., for the purpose of providing health benefits, including prescription
drug coverage, to cligible participants and beneficiaries, Harden maintains its principal place of

business in Haleyville, Alabama. Harden provides comprehensive health coverage, including

prescription drug coverage, for its participating employees and beneficiaries. During the Class

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Period, Plaintiff paid for prescription pharmaceuticals manufactured and/or distributed by the
Defendant Drug Manufacturers and were injured by the illegal conduct alleged herein.

19, Defendant Pfizer, Inc. is a Delaware corporation with a principal place of business
in New York, New York. Pfizer is pnncipally engaged in the manufacture and sale of
pharmaccuticals. In 2000, Pfizer acquired Warner-Lambert Company (““Wamer-lambert”)
including Warner-Lambert’s Parke-Davis diviston. As a result of the acquisition, Pfizer is
responsible for all habilities which result from any acts or omissions of Parke-Davis or Warner
Lambert which occurred prior to the Warner-Lambert acquisition, At times throughout this First

Amended Complaint, Parke-Davis and Pfizer may be referred to collectively as “Defendants.”

Ill. JURISDICTION AND VENUE

20, subject matter jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331,
because this action anses under the laws of the United States, and pursuant to 18 U.S.C. §
1964(c), because this action alleges violations of the Racketeer Influenced and Corrupt
Organizations Act (“RICO”).

21, Venue ts proper in this Court under 28 U.S.C. § 1391 and 18 U.S.C. § 1965 and
because dunng the Class Periods one or more of the Defendants conducted business in the
district, including marketing, adverlising, and sales, and because a substantial part of the events
giving rise to Plaintiff's claims occurred and a substantial portion of the alfected interstate trade
and commerce has been cared out in this district. Further, at all times mentioned in this
Complaint, Defendants made misrepresentations and material omissions to residents of the
district.

22. The Court has supplemental jurisdiction over the claims for common law fraud,

unjust enrichment, and violation of the consumer protection statutes of the fifty states.

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IV. STATEMENT OF FACTS

A Parke-Davis’s Decision to Avoid FDA Approval and the “Off-Labcl” Marketing
Scheme

23. Parke-Davis was principally engaged in the manufacture and sale of
pharmaceuticals including prescription pharmaceuticals falling under the jurisdiction and
regulation of the FDA. Pfizer acquired Wamer-Tambert in 2000.

24, In December 1993, the FDA approved Neurontin as “adjunctive therapy” for the
treatment of certain types of seizures in adult patients suffering from epilepsy. “Adjunctive
therapy” meant that the drug could not be prescribed by itsclf for the treatment of epilepsy, but as
an add-on drug in the event that a primary anti-epilepsy drug was not successful. The FDA-
approved labeling of Neurontin stated that the drug is only effective at 900 to 1800 mg/day.

25. At the time Neurontin was approved, Parke-Davis’ original patent on Neurontin
was sel lo expire in December 1998. This left Parke-Davis with only a small window of
exclusivity for this drug; afler the expiration of the Neurontin patent, Parke-Davis would be
forced to share the market for Neurontin with generic drug manufacturers, substantially reducing
its profits and its ability to keep Neurontin’s retail price high.

26. At the time Parke-Davis filed its NDA (New Drug Application) with the FDA,
Parke-Davis intended Neurontin to be used for other indications besides epilepsy adjunctive
therapy. In October 1990, Parke-Davis filed a patent for Neurontin claiming it to be effective in
the treatinent of depression. In November 1990, it filed another patent application for Neurontin
claiming it to be effcetive for the treatment of ncurogpencrative disease, In 1995, additional
patent applications were filed by Parke-Davis for mania and bipolar disease and for anxicty and
panic. Notwithstanding the claims made in its patent applications, neither Parke-Davis nor Pfizer
ever sought IDA approval for the use of Neurontin to treat the conditions described in the four

patent applications referenced above.

27, ‘The market for the only approved use for Neurontin — adjunctive therapy for

epilepsy patients — is, and was, limited with a potential population of two million epilepsy

patients. On the other hand, the market for the other uses of Neurontin contemplated by Parke-

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Davis, such as pain management, psychiatric disorders, anxicty and depression, were huge.
Parke-Davis knew that if these markets could be tapped, Parkc-Davis could enjoy enormous
profits from Neurontin.

28, Inittally, Parke-Davis intended to file supplemental NDAs in order to cxpand
Neurontin’s approved indications, including applications for monotherapy (which would permit
Neurontin to be prescribed by iiself for epilepsy treatment) and for various psychiatric and
neurological indications. However, by 1995 Parke-Davis recognized it would be uneconomical
to assume the expense and time necessary to conduct clinical trials necessary to prove that
Neurontin was safe and effective for these uses. Assuming Neurontin could be proven to be safe
and effective, the near-term cxpiration of the patent meant that generic manufacturers of
Neurontin would reap much of the reward that comes with proving Neurontin could be safely
used for other indications,

29. Under applicable statutes and reeulations, the manufacturer of a prescription drug
regulated by the FDA may not promote or market the use of the drug for purposes or in dosages
other than those approved by the FDA. Uses ofa prescription drug for purposes other than those
approved by the DA are referred to as “off-label” uses. Promotion by a drug manufacturer of
“off-label” uses of prescription drugs is strictly illegal and contrary to the explicit policies and
regulations of the United States Government.

30. After performing extenstve economic analysis, senior offictals at Parkc-Davis
determined that tt was not sufficiently profitable for Parke-Davis to obtain FDA approval for
Neurontin’s alternative uses. Instead, Parke-Davis officials developed a strategy that would
allow Parke-Davis to avoid the costs of proving that Neurontin was safe and effective for these
other uses, while allowing Parke-Davis to compete in the lucrative “oft-label” markets. As one
aspect of the scheme, Parke-Davis decided to employ a “publication strategy” that would allow it
to promote Neurontin by the massive distribution of publications supposedly written by
independent researchers that purportedly descnbed the scientific evaluation of Neurontin.

Another advantage of this strategy, from Parke-Davis’s perspective, was that it could be

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employed immediately; there was no necd to wait for the results of scientifically conducted
clinical trials to determine if Neurontin was actually effective in the treatment of these
condihons,

3]. The Parke-Davis scheme consisted of an elaborate and clandestine promotion of
“off-label” uses of Neurontin, all in direct contravention of rules and regulations of the FDA and
the Health Care Finance Agency and, in particular, for the “off-label” uses of pain control,
monotherapy for seizures using extremely high doses, control of bipolar disorder, attention
deficit disorder, and other discases and conditions.

32, Minutes of meetings held in 1995 showed that marketing and clinical employees
of Parkc-Davis decided that clinical trials were too expensive and they would take too long, so
that by the time the company got the results, the patent on Neurontin would be close to running
out and the market would be flooded with cheap copies of Neurontin.

33. As a result, a group of executives called the “New Products Committee” approved
an altcrnalive strategy; in other words, not the strategy that would have involved going to the
FDA, but an alternative strategy to generate these additional uses of Neurontin. They decided
that Parke-Davis would pay for clinical trials in a range of uses — bipolar disorder, social phobia,
migraine, and chronic pain . and then publicize the results of those tnals through medical
journals and medical conventions. The head of this committee was the then-president of the
company, Tony Wild.

34. These promotions occurred in spite of evidence showing that the drug would not
work for these conditions. A Parke-Davis internal memo dated May 5, 1997 posed the central
question: “Did it make sense for Parke-Davis to do rigorous and expensive clinical trials to
prove to the FDA thal Neurontin worked for the burning, tingling pain of diabetic neuropathy?”
The mcemo’s answer: “It did not.” According to the memo, there was a study that showed
Neurontin worked better than a placebo, but more studies would be needed, and the arithmetic
did not add up. Neurontin’s patent was two and one-half years away from expiring and, when

that happened, makers of cheap generic copies would get most of the Neurontin patients. Still,

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the pain market was tempting, The Parke-Davis memo pointed out there were up to 16 million
diabetics in the country. Neurontin, with an approved use for epileptic scizures, had a market of
two million. The memo also noted that diabetics had used drugs worth al least $15 million to
ireat pam, and Neurontin already had most of those patients. So, the epilepsy marketing team
recommended that Parke-Davis skip the studies and promote Neurontin for pain directly to
doctors through educational serninars and other meetings.

35. Although federal regulations did not permit Parke-Davis to promote unapproved
uses of Neurontin, Parke-Davis was permitted to distribute publications created by “third parties”
that described results of “off-label” uses of Neurontin, if such material was distributed in
response to non-solicited requests from physicians, Parke-Davis decided to exploit this narrow
exception by creating events and programs that would allow special Parke-Davis employees and
independent contractors under Parke-Davis’s control to promote “off-label” usage under
circumstances that would allow Parke-Davis to deny, wrongfully, that it had solicited “off-label”
usage.

36. Significant ingenuity and resourcefulness was necessary in order to exccute this
unlawful scheme without detection. Faced with the fact that its “publication strategy” required
publications from independent physicians when no such publications existed, Parke-Davis hired
non-physician technical writers to create articles for medical journals and then paid actual
specialists to be the articles’ “authors.” Faced with the fact that its normal marketing force could
not deliver the “off-label” message, Parke-Davis trained its medical liatsons — technical
employees who were supposed to provide balanced scientific information to doctors ~ - to sell
“off-label” and solicit interest in “off-label” uses, Faced with the fact that in order for a
“publication strategy” to actually increase usage of a drug, Parkc-Davis required a large group of
doctors interested in experimenting on patients, and an cven larger group of doctors who were
interested in receiving information about those experiments. Parke-Davis generated both groups

by liberally distributing payments to both groups of physicians through “consultants” meetings,

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speakers’ bureaus, medical education seminars, grants, “studies,” advisory boards and
teleconferences. Further details of these programs are described below.

37, Notwithstandimg their knowledge that they could not promote Neurontin lawfully
for non-approved uses, marketing executives at Parke-Davis’s headquarters in Morris Plains,
New Jersey, and in its five regional customer business units (CBUs), selected a marketing
strategy which would deliberately lead to increased “off-label” usage of Neurontin. These
executives knew that Parke-Davis was not supposed to create or design the contents of the
commumcations that would be distributed pursuant to the “publication strategy,” or do anything
ty generate the practicing physicians’ intcrest in receiving such communications. As
demonstrated below, Parke-Davis ignored these legal requirements and, instead, put into effect a
pervasive pattern of illegal conduct described below, lasting from at least 1994 through 1998,
and Plaintiff believes, through 2000. ‘The effects of this egal activity continue today as doctors
continue to prescribe Neurontin for “off-label” uses as a direct result of the wrongful activities
described below,

38. The Parke-Davis scheme was carried out by employing these strategies, among
others, as descnbed below:

a. payment of illegal kickbacks to physicians who prescribed large
amounts of Neurontin for “off-label” purposes to patients whose
prescriptions were paid for by Medicare or Medicaid;

b, the formation of a nationwide nctwork of employees falscly referred to
as “medical Haisons” whose actual assigned duties consisted entirely of
conventional dircet sales activities and which did not include any
legitimate scientific activity;

Cc. the illegal direct solicitation of physicians for “off-label” uses:

d. the making of falsc statements to physicians and pharmacists concerning

the efficacy and salely of Neurontin for “off-label” uses;

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e. the making of such false statements directly to the Vetcrans
Administration concerming the safety and efficacy of Neurontin for “off-
label” uses;

f. the charging of full price for drugs actually being used in experimental
trials and, thus, subject to federal price restriction:

g. the systematic avoidance of filing requirements with the ‘DA;

h, the deliberate avoidance of the FDA’s classification of Neurontin as to
its therapeutic equivalency and, thus, the avoidance of Medicare and
Medicaid price limitations based on therapeutic equivalency;

i. the use of active concealment to avoid the FDA’s enforcement
mechanisms and the resultant mandatory interruption of Medicare and
Medicaid payments for Neurontin prescriptions;

j. the use of active concealment to avoid the “formulary” policies of
vanous state agencies administering Medicare and Medicaid programs
which are intended to refuse payment for uses of drugs which are not
medically recognized as statutorily defined:

k. the payment or offering of gratuities to Parke-Davis employees in order
to procure their silence; and

l. the active training of Parke-Davis employees in methods of avoiding
detection of their activities by the FDA.

Each aspect of the scheme is descnbed below, and certain aspects of the scheme have

continued in 2000, 200] and 2002 and may be ongoing to the present time.

EB. Parke-Davis’s Systematic Payments to Doctors for the Purpose of Increasing
Neurontin Prescriptions

39. Parke-Davis’s “publication strategy” required physicians (and its medical
liaisons) to perform the work normally performed by the company’s salesmen in order to

promote Neurontin, Adoption of this strategy required Parke-Davis to make tens of thousands of

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payments to the physicians who would aci as a surrogate sales force as well as the practicing
physicians who would receive the message. In other words, adoption of the “publication
strategy” required Parke-Davis to make thousands of payments to physicians for the purposc of
having those doctors either recommend the prescription of Neurontin or to order Neurontin, in
violation of the Medicaid anti-kickback regulations. Parkc-Davis was aware that these
regulations were violated routinely. A description of the various programs Parke-Davis used to
make these payments to physicians follows.

1. “Consultants” Meetings

40). A common ploy by Parke-Davis to funnel illegal payments to physicians to
cncourage them to presenbe “off-label” was through “consultants” meetings, Under this guise,
Parke-Davis recruited physicians to dinners or conferences and paid them to hear presentations
about “off-label” uses of Neurontin. Under the guise that these doctors were acting as
“consultants,” Parke-Davis sometimes (bul not always) had the doctors sign sham “consulting
agreements.” At these mectings, Parke-Davis would give these doctors lengthy prescntations
relating to Neurontin, particularly regarding “off-label” usage. Prescntations would be made by
Parke-Davis employees or physician speakers hired by Parke-Davis for the purpose of promoting
Neurontin, and attendees’ questions relating to the administration of Neurontin use would be
solicited and answered, At some conferences, the sponsoring organization or Parke-Davis
intentionally posed questions to the speakers about “off-label” use to insure that the attendees
were exposed to such information.

41. At some, but not all, “consultants” mectings a fow questions would be posed to
the “consullants” regarding Parke-Davis marketing of Neurontin or how the Parke-Davis sales
force could provide better service to the doctors, The “consultants” meetings, however, were not
held (and the “consultants” were noi paid) for the purpose of providing Parke-Davis with expert,

independent advice. In many cases, Parke-Davis did not even record the “advice” provided by

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its “consultants,” and whatever advice was collected was never acted upon or reviewed. Indeed,
no legitimate busincss would need hundreds of “consultants” to advise it on the same topic.

42. Parke-Davis did, however, routinely analyze whether the “consultants” meetings
were successful in getting the attendees to change their prescription writing practices. At some
meetings, the “consultants” were directly asked if they would write more Neurontin prescriptions
as arcsult of the meeting. Such a question woukd have been irrelevant if the actual purpose of

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ihe meeting was to reccive the “consultants” advice. Parke-Davis also routinely tracked
consultants’ Neurontin prescription writing practices afier these meetings. Using markei data
purchased from third partics, Parke-Davis analyzed whether the doctors they had paid had, in
fact, written morc Neurontin prescriptions after the meeling, Again, such data was only relevant
if the real purpose of the payments was to influence the doctors to order more Neurontin.

43, A typical consultants’ meeting was held in Jupiter Beach, Florida, for ncurologisis
from the North East CBU during the weckend of April 19-21, 1996. The “consultanis” selected
for this meeting were not chosen on the basis of their consulting acumen but, rather, because of
their potential to write Neurontin prescriptions. In a memorandum announcing the event to
Parke-Davis personnel, the Neurontin Marketing Team acknowledged that in order to target
neurologists with the greatest potential for writing Neurontin prescriptions, sales personnel must
sclect potential attendees from a list of the top prescription writers for anti-epileptic drugs in the
Northeast; only persons who fell within this desirable demographic were allowed to be invited.

44, Qualifying physicians were given round-trip airfare to Florida (worth $800.00),
two nights’ accommodations (worth $340.00), free mcals and entertainment, ground
transportation and a “consultant’s fee” of $250.00. Ample time was provided so that ihe Parke-
Davis “consultants” could enjoy the beach resort. The value of the junket was approximately
$2,000.00 per physician.

45. ‘The Jupiter Beach “consultants” mecting included two one-half days of
presentations by Parkc-Davis relating to Neurontin, including extensive presentations relating to

“olflabel” uses. Although technically the presentations were provided by an independent

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company, Proworx, all aspects of the presentation were designed, monitored and approved by
Parke-Davis. It selected the speakers, picked the presentation topics and previewed the content
of the presentations to make sure that they were acceptable. Parke-Davis paid all expenses
relating to the “consultants” meeting, including all payments to the attendees and the presenters,
all travel, accommodation, meals and cnteriainment expenses, all presentation expenses, all
expenses and fees incurred by Proworx, and the substantial fees paid to the presenting
physicians. Notwithstanding the FDA’s prohibition regarding the provision of promotional
materials on “off-label” uses, Parke-Davis provided written abstracts of the presentations that
detailed “off-label” use of Neurontin to each of its “consultants.”

46. No effort was made to obtain protessional advice at Jupiter Beach trom the
“consullants” Parke-Davis had wined, dined and entertained during the weekend, A follow-up
memorandum to Parke-Davis marketing officials noted that “the participants were delivered a
hard hitting message about Neurontin” and emphasized that the participants were encouraged to
use Neurontin at higher doses. More importantly, after the conference Parke-Davis generated
“trending workshects” listing the doctors who attended the “consultants” mecting. These
worksheets cnabled Parke-Davis to track Neurontin prescription habits of the attendees before
and afier the “consultants” mectings to determine if these “high writing” prescribers wrote more
Neurontin prescription after the conference. Persuading these heavy prescribers to order more
Neurontin for their paticnts was, in fact, the sole purpose of the Jupiter Beach junket.

47. Jupiter Beach was not unique. Parke-Davis hosted dozens of “consultants”
mectings between late 1995 and 1997 in which the “consultants” received payments and
gratuities as well as presentations on “off-label” Neurontin use designed to change the
physicians’ prescription writing habits. Comparable consultants’ mectings included, but were
not limited to, the following:

Topic Location Dates

Mastering Epilepsy La Costa Resort, CA July 20-23, 1995

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Topic

Mastering Epilepsy

Neurontin Consultants Conference
Pediatric Epilepsy

Mastering Epilepsy Science
Pediatric Epilepsy

Mastering Epilepsy

Affective Disorders in Psychiatry

Affective Disorder Consultants
Conference

Neuropathic Pain Conference
Regional Consultants Conference

Epilepsy Management Advisors
Meeting

Epilepsy Management

Use of Anti-Convulsants in
Psychiatric Disorders

Non-epileptic Uses of Neurontin

Neurological Conditions
Conlerence

Location

Santa Fe, NM

Marco Island, FL
Huichinson sland, FT.
Walt Disney World, FL
Hutchinson Island, FL
Ritz Carlton, Aspen, CO
Marco Island, FL

Souther Pines, NC

Palm Beach, FT.
Ritz Carlton, Boston, MA

Sheraton Grande Torrey
Pines, La Jolla, CA

Rancho Bemardo, CA

Short Hills, NJ

Longboat Key, FL

Ritz Carlton, Atlanta, GA

Dates

November 16-19, 1995
February 2-4, 1996
February 9-11, 1996
February 22-25, 1996
March 8-10, 1996
April 18-21, 1996
April 20, 1996

April 27, 1996

May 11, 1996
May 10-11, 1996

June 21-23, 1996

June 28-30, 1996

October 18-19, 1996

Noveinber 6, 1996

September 27-28, 1997

Other “consultants” meetings took place in Charleston, 5C, Coconut Grove, FL, Naples, FL,
Memphis, TN, Louisville, KY, Washington, DC, Aspen, CO, and other places. Hundreds (if not
thousands) of physicians received kickbacks to attend these events.

48. Not all payments to “consultants” were made at conferences as claborate as
Jupiter Beach. Many “consultants” meetings consisted of lavish dinners at local restaurants, The
emphasis on these mectings was also on “off-label” uses, and $200 “honoraniums” were paid to

the physicians whe did nothing for the payment except show up. At none of the events did the

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“consultants” provide legitimate consultation to Parkc-Davis, bul al all of the events the
“consultants” were encouraged to increase their Neurontin prescnption writing.

2. Medical Education Scminars

49. Another format where Parke-Davis paid kickbacks to physicians to hear “off-
label” promotion of Neurontin were programs billed as Continuing Medical Education seminars
(“CME”). These conferences and seminars were set up to appear to qualify for an exception to
the FDA’s “off-label” marketing restrictions which permits physicians to learn about “off-label”
uses of pharmaceuticals at independent seminars. Such seminars, however, must be truly
independent of the drug companies. The drug companies may make “unrestricted grants” for the
purpose of a seminar, but may not be involved in formulating the content of the presentations,
picking the speakers or sclecting the attendees. None of these rcquirernents were observed with
regard to the CME seminars sponsored by Parke-Davis for the promotion of “off-label” uses of
Neurontin. While Parke-Davis retained third-party organizations, such as Proworx and MES, to
present the event seminars, it had control of virtually every aspect of these events, and the
seminar companies obtained Parke-Davis’s approval for all content presented at the seminars.
Parke-Davis also paid all expenses, including all the seminar companies’ fees.

50, Although the seminar companies acted as the conduit for the payments and
gratuities piven to the physician attendees, like the Jupiter Beach consultants’ meetings, Parke-
Davis controlled every aspect of the CME programs. It designed and approved the programs;
hand-picked the speakers for the seminars; approved the seminar presentations of the seminars;
previewed, in most cases, the contents of the seminars prior to delivery; selected the attendees
based on their ability and willingness to prescribe high quantities of Neurontin; evaluated the
presentalions to make sure Parke-Davis’s “message” was appropriately delivered: black-listed
presenters whose presentations were not sufficiently pro-Neurontin; and monitored the
prescribing patterns of the physicians who attended these conferences to insure the purpose of

the confcrence — increased writing of Neurontin prescriptions — was achieved. Follow-up reports

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fo marketing cxecutives at Parke-Davis highlighted thal the attendees recelved presentations
regarding “off-label” marketing and recommendations for dosages larger than those labcled
effective by the FDA, These memoranda also reported Lo senior executives the pledges made by
attendees to order more Neurontin for their patients.

$1, For some seminars, high prescription writing physicians were selected to reccive
junkets comparable to those Parkc-Davis provided to the aitendees of the Jupiter Reach
“consultants” meetings described above, Others were less lavish, but physicians reccived free
tuition, free accommodations, free meals and cash. Frequently, the Parke-Davis CME. seminars
were accrediled by contmuing medical education organizations, which meant that the physicians
taking advantage of Parke-Davis’s junkets did not have to pay tuition or spend additional time to
fulfill their continuing medical education licensure requirements by attending truly independent
medical education programs.

52. Representative CME programs sponsored by Parke-Davis where it paid extensive

kickbacks to attending physicians included, but are not limited to, the following:

Seminar Location Date
Merritt-Putnam Upilepsy January 19, 1996
Posturaduate Course

Menrritt-Putnam Seminar Chicago, IL January 26, 1996
New Fronticrs in AntiEpileptic Califomia Sept-Oct 1996
Drug Use

Diabetic Neuropathy Riiz Carlton, Boston, MA June 22-24, 1997
Moerritt-Putnam Symposium Key Biscayne, lL september 1], 1997
Menitt-Putnam Conference on Palm Springs, CA September 9, 1997
Monothcrapy

Metritt-Puinam Conference on St. Louis, MO October 3, 1997
Monotherapy

Merritt-Putnam Symposium Boston, MA December 5, 1997

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3. Grants and “Studies”

53, Parke-Davis also made outright payments, in the form of grants, to reward
demonstrated Neurontin believers and advocates. Parke-Davis sales managers identified key
doctors who actively prescribed Neurontin or programs which were willing to host Neurontin
speakers and cncouraged such persons or programs to obtain “educational grants” from Parke-
Davis. Under this program of kickbacks Parke-Davis paid:

e $2,000.00 to Berge Ninmpolan, MD, “a great Neurontin believer,” to attend a
neurology seminar in San Francisco in March 1996;

e $1,000.00 to the University of Texas at Llouston, Department of Neurology, to
host a symposium where presentations would be made regarding successful
“off-label” treatment with Neurontin;

* $3,000.00 to the University of Texas Medical School to host a conference in
August 1996 at which a well-known specialist in epilepsy, who prescribed
Neurontin, would attend;

® $4,000.00 io pay for a neurologist [rom the Universtly of Texas at San Antonio
to attend the American Epilepsy Society Conference in December 1996, a
conference at which Parke-Davis was presenting extensive documentation on
“off-label” uses for Neurontin;

® $2,500.00 to the University of Texas at Houston to bring Dr. BL. Wilder to the
campus to hold a seminar. Dr. Wilder was one of Neurontin’s biggest boosters
for “olf-label” dications and had been paid tens of thousands of dollars to
promote Neurontin’s “olf-label” uses for Parke-Davis across the country;

® $2,500.00 in June 1996 to pay for representatives trom the University of
Pennsylvania Medical Center to attend a conference in Saint Petersburg,
Russia, on the utilization of anti-epileptic drugs, including Neurontin;

® $5,000.00 to Dr. Alan B. Ettinger, of Stony Brook, NY, in Decernber 1996, a

physician who had informed Parke-Davis that he was interested in possibly

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